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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

)
THOMAS STALCUP, ) C.A. No. 1:21-MC-91009-LTS
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Plaintiff, )
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DEPARTMENT OF DEFENSE, ) a0 ¢. im
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Defendant. ) os om
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PLAINTIFF’S MOTION FOR CONSOLIDATION AND HEARING = =m
AND MOTION TO BE GRANTED ELECTRONIC, ECF PRIVILEGES

FOR THIS CASE
Plaintiff Stalcup moves for consolidation of his two cases currently before this Court and to be
heard on the pending D.C. FBI motion to compel on February 3, 2021, the same day that this Court

scheduled a hearing on three related motions. See 1:13-cv-11967-LTS, Doc. No. 268. Plaintiff
conferred with FBI counsel AUSA Raytord Farquhar about this motion, who emailed Plaintiff on
January 12, 2021 stating that “[t]he government would not oppose having the D.C. FBI motion heard
on the same day as the other motions.” See Exhibit A. This Court ruled that Plaintiff's prior motion to

be heard on the D.C. motion to compel filed in the related case 1:13-cv-11967-LTS was moot, because

the D.C. motion to compel was not yet “transferred in from District of ... Columbia”, or because it was

incorrectly “[a]ssign[ed] . . . [to] Judge William G. Young.” See 1:21-mc-91009-LTS, Doc. Nos. 9, 10.
Case 1:21-mc-91009-LTS “‘is related to civil action number 1:13-cv-11967-LTS”. See 1:21-mc-
91009-LTS, Doc. No. 11. Each of these two cases arose from the same set of facts and the same FOIA

requests. Both have more than one “common question of law or fact”. See federal and local rule 42(a)
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(2) and 42(c) respectively. And a potential, similar motion to compel for the Massachusetts-based
Raytheon corporation may soon be filed under case number 1:13-cv-11967-LTS. !

WHEREFORE, Plaintiff respectfully requests that both cases be consolidated and that a hearing
on the D.C. motion to compel be scheduled on February 3, 2021. Should the Court not decide to
consolidate the two aforementioned cases at this time, Plaintiff requests: 1) that his unopposed motion
for hearing on the above date be granted; and 2) that he be granted full ECF (court electronic filing and
notification privileges) for this case (1:21-mc-91009-LTS). Regarding #2 above, Plaintiff is

experienced and qualified to use this Court's ECF system, and he notes that, to date, he has not received

any notifications (email or otherwise) for any of his new case's various docket entries.
Respectfully submitted this 12" day of January, 2021.

/s/ Thomas Stalcup
Thomas Stalcup, PhD
50 Green St. Apt. 202, Brookline, MA 02446

(774) 392-0856 — stalcupt@ gmail.com

CERTIFICATION PURSUANT TO LOCAL RULE 7.1

I hereby certify that I, pro se Plaintiff Dr. Thomas Stalcup, conferred via email with DoD
counsel AUSA Rayford Farquhar on January 11" and 122021 regarding this motion, who stated that
“t]he government would not oppose having the D.C. FBI motion heard on the same day as the other
motions.”

/s! Thomas Stalcup
—.—. —_—. ~— Dated:January 12,2021 — — -  Thomas-Stalcup,PhD — ——---. ---- ~ - ~~

CERTIFICATE OF SERVICE

I certify that the foregoing document filed through the ECF system should be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF.

!s/ Thomas Stalcup
Dated: January 12, 2021 Thomas Stalcup, PhD

1 Raytheon has already informed Plaintiff that multiple boxes of potentially responsive records have been located, but per
the rules governing discovery, Plaintiff is awaiting the outcome of FBI discovery before deciding to file that motion, as it
may be unnecessary since each entity may maintain the same information.

2
